         Case 4:10-cv-00607-HDV-CFB Document 1 Filed 12/21/10 Page 1 of 5



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF
                            IOWA CENTRAL DIVISION

PHILIP ROGARIS,
                                                 Civil Action No.
                  PLAINTIFF,

vs.                                              COMPLAINT and DEMAND
                                                 FOR JURY TRIAL
CAB ASSET MANAGEMENT, LLC,

                  DEFENDANT.


      NOW COMES the Plaintiff, Philip Rogaris (“Plaintiff” or “Rogaris”) by and through
his attorney, L. Ashley Zubal, and for his Complaint against the Defendant, CAB Asset
Management, LLC (hereinafter “Defendant” or “CAB”), alleges as follows:


                                    I.     INTRODUCTION
      1. This is an action for damages brought by an individual consumer for Defendant’s
violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq, (hereinafter
“FDCPA”) and the Iowa Debt Collection Practices Act, § 537.7103, et seq, (hereinafter
“IDCPA”) which prohibit debt collectors from engaging in abusive, deceptive, and unfair
collection practices.


                             II.    JURISDICTION AND VENUE
      2. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C. § 1337, and
supplemental jurisdiction exists for the state law claims pursuant to 28 U.S.C. § 1367.
Venue in this District is proper in that the Defendant transacts business here and the
conduct complained of occurred here.


                                         III.   PARTIES
      3. Plaintiff, Philip Rogaris, is a natural person residing in Des Moines, Iowa.
      4. Defendant, CAB Asset Management, LLC is a business engaged in the collection
of debts owed to another in the State of Iowa.
       Case 4:10-cv-00607-HDV-CFB Document 1 Filed 12/21/10 Page 2 of 5



   5. Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3). Plaintiff
is a “debtor” as that term is defined by Iowa Code § 537.7102(6).
   6. Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6) and
Iowa Code § 537.7102(5).
   7. At some point in time, the Plaintiff incurred a “debt” as that term is defined by 15
U.S.C. § 1692a(5) and Iowa Code § 537.7102(3), to Advance America, which was used for
personal, family, or household use.
   8. Sometime thereafter, the debt was sold, assigned, or otherwise transferred to the
Defendant for collection.
   9. Defendant is a collection agency that in the ordinary course of business,
regularly, on behalf of itself or others, engages in debt collection.


                             IV.     FACTUAL ALLEGATIONS
   10. On or about November 29, 2010, at 4:15 p.m., the Plaintiff received a voice
message from a representative of the Defendant, a “Keara,” who was contacting the
Plaintiff in an attempt to collect a debt. The representative failed to provide meaningful
disclosure of who was calling. The representative referred to the Plaintiff’s file number,
9675613. The representative stated that the file was transferred to her for review and
asked the Plaintiff to contact her at the following number: 877-569-4713. The
representative failed to state the call was from a debt collector and any information
would be used for that purpose.
   11. The Plaintiff called the Defendant back on November 29, 2010 and spoke with a
Mr. Correia. The Plaintiff referenced his file number to pull up the account. The
Defendant’s representative stated that the Plaintiff owed an outstanding debt to
Advance America for which they were collecting. The representative requested the
Plaintiff set up payment immediately. The representative repeated an address that the
Plaintiff had not lived at for several years. The Plaintiff stated that he was not in a
position to pay the debt and ended the phone call.
   12. On or about November 30, 2010, at 8:30 a.m., the Plaintiff received a voice
message from a representative of the Defendant, a “Viola Tisdale,” who was contacting
the Plaintiff in an attempt to collect a debt. Ms. Tisdale stated she was calling from CAB
Asset Management and that she was investigating a matter with regard to Mr. Rogaris.
       Case 4:10-cv-00607-HDV-CFB Document 1 Filed 12/21/10 Page 3 of 5



Ms. Tisdale requested Mr. Rogaris call her back at 877-569-4713, and reference file
number 9675613. The representative failed to state the call was from a debt collector
and that any information would be used for that purpose.
   13. On or about December 06, 2010, at 1:13 p.m., the Plaintiff received a voice
message from a representative of the Defendant, a “Tiffany,” who was contacting the
Plaintiff in an attempt to collect a debt. Tiffany stated she was calling from CAB Asset
Management. Tiffany requested Mr. Rogaris call her back at 877-569-4713 and to
reference file number 9675613. The representative failed to state the call was from a
debt collector and that any information would be used for that purpose.
   14. On or about December 7, 2010, the Plaintiff contacted the Defendant and
provided the representative with his current address. He requested that future
communications be directed to his address.
   15. The Defendant has failed to forward any correspondence with regard to the
alleged debt to the Plaintiff’s current address.
   16. As a result of the above-referenced communications and actions of the
Defendant, the Plaintiff has experienced the following damages including, but not
limited to: frustration, anger, stress, fear, loss of sleep and anxiety.


    V.      FIRST CLAIM FOR RELIEF: VIOLATION OF THE FEDERAL FAIR
                    DEBT COLLECTION PRACTICES ACT (FDCPA)

   17. The Plaintiff repeats, realleges and incorporates by reference paragraphs 1
       through 16.
   18. CAB Asset Management, LLC and its agents violated the FDCPA through the
foregoing acts and omissions including, but not limited to:
           a. The Defendant violated 15 U.S.C. § 1692d(6) through the placement of
              telephone calls without meaningful disclosure of the caller’s identity.
           b. The Defendant violated 15 U.S.C. § 1692e(11) by failing to state in the
              initial communications and communications subsequent that the
              communication is from a debt collector and any information will be used
              for that purpose.
           c. The Defendant violated 15 U.S.C. § 1692f through the use of unfair or
              unconscionable means to collect or attempt to collect a debt.
      Case 4:10-cv-00607-HDV-CFB Document 1 Filed 12/21/10 Page 4 of 5



          d. The Defendant violated 15 U.S.C. § 1692g by failing, within five days after
               its initial communication with Plaintiff, to provide written notification
               containing a statement that unless Plaintiff, within thirty days after receipt
               of that notice, disputed the validity of the debt, or any portion thereof,
               Defendant would assume the debt was valid, or failed within five days after
               its initial communication with Plaintiff to provide a written notice
               containing a statement that if Plaintiff notified Defendant in writing,
               within the thirty-day period that the debt, or any portion thereof, was
               disputed, Defendant would obtain verification of the debt or a copy of a
               judgment against Plaintiff and a copy of such verification or judgment
               would be mailed to Plaintiff by Defendant and that Defendant would
               provide Plaintiff with the name and address of the original creditor.
   19. The Plaintiff is entitled to statutory damages up to $1,000.00 for Defendant’s
violations of the FDCPA pursuant to 15 U.S.C. § 1692k(a)(2)(A).
   20. The Plaintiff is entitled to actual damages for Defendant’s violations of the
FDCPA pursuant to 15 U.S.C. § 1692k(a)(1).
   21. The Plaintiff is entitled to an award of the costs of this action and reasonable
attorney fees for Defendant’s violations of the FDCPA pursuant to 15 U.S.C. §
1692k(a)(3).


    VI.    SECOND CLAIM FOR RELIEF: VIOLATION OF THE IOWA DEBT
                    COLLECTION PRACTICES ACT (IDCPA)

   22. The Plaintiff repeats, realleges and incorporates by reference paragraphs 1
      through 21.
   23. CAB Asset Management, LLC and its agents violated the IDCPA through the
foregoing acts and omissions including, but not limited to:
          a. The Defendant violated Iowa Code § 537.7103(1)(f) by violating 15 U.S.C.
               §§ 1692d(6); 1692e(11); 1692f; and 1692g.
          b. The Defendant violated Iowa Code § 537.7103(4)(b) by failing to state in
               the initial communications and communications subsequent that the
               communication is from a debt collector and any information will be used
               for that purpose.
      Case 4:10-cv-00607-HDV-CFB Document 1 Filed 12/21/10 Page 5 of 5



   24. The Plaintiff is entitled to statutory damages ranging from $100.00 to $1,000.00
for Defendant’s violations of the IDCPA pursuant to § 537.5201(1)(y).
   25. The Plaintiff is entitled to actual damages for Defendant’s violations of the IDCPA
pursuant to § 537.5201(1)(y).
   26. The Plaintiff is entitled to an award of the costs of this action and reasonable
attorney fees for Defendant’s violations of the IDCPA pursuant to § 537.5201(8).
   WHEREFORE, the Plaintiff respectfully requests that judgment be entered against
the Defendant, that the Plaintiff be awarded statutory damages, actual damages, the cost
of this action along with reasonable attorney fees, and for such other relief as the Court
deems appropriate in the circumstances.


                                   VII.   JURY DEMAND
   The Plaintiff respectfully requests a trial by jury.


                                                  Respectfully submitted,




                                                    /s/ L. Ashley Zubal
                                                  L. Ashley Zubal IS9998256
                                                  Marks Law Firm, P.C.
                                                  4225 University Avenue
                                                  Des Moines, IA 50311
                                                  (515) 276-7211
                                                  (515) 276-6280
                                                  ATTORNEY FOR PLAINTIFF
